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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                     Chapter 11

AMYRIS, INC., et al.,                                                      Case No. 23-11131 (TMH)

                                      Debtors.1                            (Jointly Administered)


                THE DEBTORS’ NOTICE OF 30(b)(6) DEPOSITION
             OF THE TRUSTEE UNDER TRUST AGREEMENT DATED
         MARCH 15, 1976, MEMBER OF THE AD HOC CROSS-HOLDER GROUP

         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) Federal Rule of Civil Procedure

30(b)(6), made applicable herein pursuant to Federal Rules of Bankruptcy Procedure 7030 and

9014, Amyris, Inc., et al, the above-captioned debtors and debtors in possession (the “Debtors” or

“Amyris”) will take the deposition upon oral examination of the Trustee under Trust Agreement

dated March 15, 1976 (the “Trust”) by the person(s) most qualified to testify on the Trust’s behalf

with respect to the topics described in Exhibit A attached hereto.

         The deposition will take place on a date and time to be determined. The deposition will be

conducted remotely.

          With respect to the conduct of this remote deposition:

                  1.        Counsel for the parties and their clients will be participating from various,
                            separate locations;

                  2.        The court reporter will administer the oath to the witness remotely;

                  3.        Each participating attorney must be visible to all other participants, and
                            their statements will be audible to all participants;




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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’ claims and
    noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place of business and the
    Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville, CA 94608.


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            4.     All exhibits will be provided simultaneously and electronically to the
                   witness and all participants;

            5.     The court reporter will record the testimony;

            6.     The deposition may be videotaped; and

            7.     The deposition may be recorded electronically through the use of Realtime
                   or a similar application.



Dated: December 18, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Alan J. Kornfeld
                                            Richard M. Pachulski (admitted pro hac vice)
                                            Debra I. Grassgreen (admitted pro hac vice)
                                            Alan J. Kornfeld (admitted pro hac vice)
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                                            Counsel to the Debtors and Debtors in Possession




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                                                    EXHIBIT A1

        1.        All Valuations prepared by You, for You, or at Your direction of the Debtors and/or

any or all of the Debtors’ assets.

        2.        All Communications Concerning any Valuation.

        3.        The value of Your investment in the Debtors’ securities (including any investment

memoranda or similar Documents), including the value of Your investment in the Convertible

Senior Notes.

        4.        All Communications between You and any Noteholder Concerning the Debtors,

any Valuation, the Convertible Senior Notes, the Plan, and/or the Disclosure Statement.

        5.        All Communications between You and John Melo.

        6.        All Communications between You and the Indenture Trustee Concerning the

Debtors, any Valuation, the Convertible Senior Notes, the Plan, and/or the Disclosure Statement.




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    All capitalized terms used herein are defined in the Debtors’ Request for Production of Documents to John E. Abdo,
    Individually and as Trustee under Trust Agreement dated March 15, 1976, Member of the Ad Hoc Cross-Holder Group, served
    concurrently herewith.


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